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     Date    Timekeeper                                                                       Narrative                                                                    Hours Billed      Amount Billed
02/26/2022       RJP      Prepare email correspondence to co‐movants re appellate options and considerations; follow‐up with L. Davis Jones re same                                   0.20          $265.00
02/27/2022       RJP      Exchange follow‐up email correspondence with co‐movants re appellate options and next steps                                                                 0.30          $397.50
03/01/2022       RJP      Videoconference with counsel for Committees re appellate options and strategy                                                                               0.80        $1,060.00
03/01/2022      MLT       Confer with R. Pfister re appeal issues                                                                                                                     0.20          $349.00
03/03/2022      SMK       Exchange email correspondence with working group re appellate strategy                                                                                      0.20          $235.00
                          Analyze A/P complaint in connection with proposed order on preliminary injunction and appellate issues; prepare for videoconference with
03/03/2022      RJP       objecting parties re appellate matters                                                                                                                     0.30           $397.50
03/03/2022      RJP       Videoconference with objecting parties re appellate matters and March 8 hearing                                                                            0.50           $662.50
03/03/2022      RJP       Telephone conference with L. Davis Jones re appellate matters and timing                                                                                   0.20           $265.00
03/03/2022      RJP       Telephone conference with T. Bennett re appellate and certification options                                                                                0.20           $265.00
03/03/2022      RJP       Telephone conference with D. Molton re appellate and Committee issues                                                                                      0.20           $265.00
03/03/2022      RJP       Telephone conference with M. Cyganowski re appellate issues and mediation strategy                                                                         0.40           $530.00
                          Prepare for conference call with Debtor's counsel re consent to certification; exchange email correspondence with co‐objecting parties re same
03/04/2022      RJP       and next steps                                                                                                                                             0.50           $662.50
03/04/2022      RJP       Telephone conference with M. Winograd re timing of notices of appeal and certification requests                                                            0.20           $265.00
03/04/2022      RJP       Videoconference with G. Gordon, I. Shapiro, and D. Molton re request for Debtor's consent to certification of direct appeal                                0.20           $265.00

03/05/2022       RJP      Prepare for conference call with objecting parties re appellate timing and certification motions; exchange email correspondence re same                    0.10           $132.50
03/05/2022       RJP      Conference call with objecting parties re appellate timing and certification motions                                                                       0.40           $530.00
03/07/2022      SMK       Analyze TCC 2's motion for continued existence for limited purpose of appeal                                                                               0.20           $235.00
03/07/2022      SMK       Analyze TCC 2's draft certification motion                                                                                                                 0.60           $705.00
03/07/2022      SMK       Review and revise draft notices of appeal                                                                                                                  0.20           $235.00
03/07/2022      NM        Research re certification for direct appeal                                                                                                                0.70           $542.50
03/07/2022      NM        Draft notices of appeal; correspondence re same                                                                                                            3.10          $2,402.50
03/08/2022      SMK       Exchange email correspondence with N. Maoz and R. Pfister re certification of interlocutory order                                                          0.20           $235.00
03/08/2022      NM        Draft motion for certification of orders for direct appeal                                                                                                 5.50          $4,262.50
03/09/2022      NM        Prepare motion to certify direct appeal                                                                                                                    6.60          $5,115.00
03/10/2022      SMK       Prepare motion for certification of direct appeal                                                                                                          3.20          $3,760.00
03/10/2022       RJP      Confer and correspond with N. Maoz and S. Kidder re certification motion and appellate matters                                                             0.70            $927.50
03/10/2022       RJP      Analyze correspondence re Debtor's non‐consent to certification of direct appeal                                                                           0.10           $132.50
03/11/2022      NM        Review and revise motion to certify; correspondence re same                                                                                                4.80          $3,720.00
03/11/2022      SMK       Analyze TCC 1's certification motion                                                                                                                       0.50           $587.50
03/11/2022      SMK       Revise and finalize motion for certification of direct appeal                                                                                              2.30          $2,702.50
03/11/2022       RJP      Revise, finalize, and file motion for certification of direct appeal to Third Circuit                                                                      5.20          $6,890.00
03/11/2022       RJP      Meet with K. Klee re absolute priority rule issues (appellate strategy)                                                                                    0.60           $795.00
03/13/2022       RJP      Review email correspondence from M. Cyganowski re A&I motion for certification                                                                             0.10            $132.50
03/14/2022      SMK       Analyze A&I certification motion re direct appeal                                                                                                          0.50           $587.50
03/14/2022      SMK       Analyze and revise draft statement of issues and designation of record on appeal                                                                           0.50           $587.50
03/14/2022       RJP      Analyze A&I motion for certification of direct appeal; confer with N. Maoz re statement of issues on appeal and appellate timing                           0.70            $927.50
03/14/2022      MLT       Analyze A&I's request for certification of direct appeal                                                                                                   0.40           $698.00
03/14/2022      NM        Review A&I motion to certify                                                                                                                               0.30           $232.50
03/14/2022      NM        Draft statement of issues on appeal                                                                                                                        0.60           $465.00




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     Date    Timekeeper                                                                         Narrative                                                                  Hours Billed      Amount Billed
03/15/2022      SDP       Prepare designations of record on appeal                                                                                                                    2.40        $1,296.00
03/15/2022      NM        Draft designation of record on appeal                                                                                                                       1.20          $930.00
03/16/2022      SMK       Analyze amended notice of appeal filed by TCC 2                                                                                                             0.10          $117.50
03/16/2022      SMK       Review and revise designation of record on appeal                                                                                                           0.30          $352.50
03/16/2022      NM        Revise designation of record on appeal                                                                                                                      0.80          $620.00
03/17/2022      SDP       Work on designations of record on appeal                                                                                                                    1.30          $702.00
03/17/2022      NM        Revise designation of record on appeal                                                                                                                      3.00        $2,325.00
03/18/2022      NM        Research re appellate issues                                                                                                                                2.30        $1,782.50
03/21/2022      SMK       Analyze designation of record and statement of issues on appeal filed by TCC 2                                                                              0.20          $235.00
03/21/2022      SMK       Finalize statement of issues and designation of record on appeal                                                                                            0.30          $352.50
03/21/2022       RJP      Revise, finalize, and file statement of issues on appeal and designation of record                                                                          0.70          $927.50
03/21/2022      NM        Review TCC statement of issues and designation                                                                                                              0.30          $232.50
03/21/2022      NM        Revise statement of issues and designation; correspondence re same                                                                                          0.50          $387.50
03/22/2022      SMK       Analyze certification re direct appeal motions and TCC 2 issues                                                                                             0.20          $235.00
03/22/2022      SMK       Exchange email correspondence with R. Pfister and N. Maoz re potential amendment of designation of record                                                   0.10          $117.50

03/22/2022       RJP      Review briefing schedule re Committee issues and certification motions; exchange email correspondence re same and re proposed orders                       0.30           $397.50
03/22/2022       RJP      Analyze statements of appellate issues; exchange email correspondence re appellate timing and deadlines                                                    0.30            $397.50
03/22/2022      NM        Review statements of issue and designations; correspondence re same                                                                                        0.30           $232.50
03/23/2022       RJP      Analyze Debtor's objection to certification motions                                                                                                        0.80          $1,060.00
03/23/2022      SMK       Analyze Debtor's opposition to certification motions                                                                                                       0.30           $352.50
03/23/2022      SMK       Analyze TCC 1 statement of issues on appeal and designation of record                                                                                      0.20           $235.00
03/23/2022      NM        Review objection to motions to certify                                                                                                                     1.80          $1,395.00
03/23/2022      NM        Review TCC 1 statement of issues on appeal                                                                                                                 0.30           $232.50
03/24/2022      SMK       Draft reply in support of certification motion                                                                                                             3.50          $4,112.50
03/24/2022      SMK       Analyze Debtor's opposition to certification motions; outline reply to same                                                                                1.20          $1,410.00
03/24/2022      NM        Revise notice of appeal; correspondence re same                                                                                                            0.20           $155.00
03/24/2022      NM        Draft reply in support of motion to certify                                                                                                                4.60          $3,565.00
03/25/2022      SMK       Analyze A&I statement of issues and designation of record on appeal                                                                                        0.20           $235.00
03/25/2022      NM        Revise reply in support of certification; correspondence re same                                                                                           0.60           $465.00
03/26/2022       RJP      Coordinate with S. Kidder and N. Maoz re reply in further support of certification motions                                                                 0.20           $265.00
03/28/2022       RJP      Review and revise certification reply; analyze briefing filed by other appellants and prepare for argument re same                                         1.00          $1,325.00
03/28/2022      SMK       Analyze certification replies filed by A&I, TCC 1 and TCC 2                                                                                                1.80          $2,115.00
03/28/2022      SMK       Revise and finalize reply in support of certification motion                                                                                               0.70           $822.50
03/28/2022      NM        Review reply briefs in support of motions to certify                                                                                                       0.60           $465.00
03/28/2022      NM        Revise reply in support of motion to certify                                                                                                               0.80           $620.00
03/29/2022       RJP      Conference call with M. Winograd and L. Davis Jones re certification argument                                                                              0.30           $397.50
03/30/2022       RJP      Appear at hearing on certification motions                                                                                                                 3.50          $4,637.50
03/31/2022      SMK       Analyze draft order re direct certification and email correspondence re same                                                                               0.20           $235.00

03/31/2022      RJP       Analyze draft orders granting certification motions; confer and correspond with working group re same and next steps (Third Circuit motion)                0.80          $1,060.00
03/31/2022      NM        Review proposed orders certifying orders for direct appeal                                                                                                 0.20           $155.00




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                          Exchange email correspondence re certification orders; confer and correspond re certification filings in Third Circuit and timing / next steps re
04/01/2022       RJP      same                                                                                                                                                          0.50           $662.50
04/04/2022      SMK       Analyze entered certification order and review deadlines re next steps                                                                                        0.10           $117.50
04/04/2022      SMK       Analyze Debtor's counter‐designations of record re PI and MTD appeal                                                                                          0.20           $235.00
                          Analyze Debtor's counter‐designation re appeals; analyze Court's entered certification order; confer and correspond with working group re Third
04/04/2022       RJP      Circuit appeal                                                                                                                                                0.50           $662.50
04/05/2022      SMK       Analyze district court notice re appellate briefing schedule and exchange emails with R. Pfister, N. Maoz re next steps                                       0.20           $235.00
04/05/2022      SMK       Prepare 3rd Circuit certification motion                                                                                                                      0.20           $235.00
04/05/2022       RJP      Prepare certification petition to Third Circuit                                                                                                               0.70           $927.50
04/05/2022       RJP      Conference call with co‐objecting parties re Third Circuit certification petition                                                                             0.30           $397.50
04/05/2022      NM        Revise designation of record                                                                                                                                  0.30           $232.50
04/05/2022      NM        Prepare petition for third circuit appeal                                                                                                                     0.30           $232.50
04/06/2022      SMK       Analyze Debtor's counter‐designation of record re TCC1 designation                                                                                            0.10           $117.50
                          Exchange email correspondence with working group re Third Circuit petitions for direct review; review Debtor's request for extension of time re
04/07/2022       RJP      same                                                                                                                                                          0.30          $397.50
04/08/2022       RJP      Analyze TCC II petition for direct appeal to Third Circuit                                                                                                    0.60          $795.00
04/08/2022      SMK       Analyze TCC2 petition for direct appeal in 3rd Circuit                                                                                                        0.50          $587.50
04/10/2022       RJP      Prepare petition for direct appeal                                                                                                                            2.50         $3,312.50
04/11/2022       RJP      Conference call with Debtor's counsel re response to proposal re certification briefing                                                                       0.20          $265.00
04/11/2022       RJP      Conference call with co‐appellants re response to Debtor's proposal re certification briefing                                                                 0.30          $397.50
04/11/2022      NM        Status call re appeal brief scheduling                                                                                                                        0.20          $155.00
04/12/2022      MLT       Analyze petitions for direct appeal and correspondence re briefing                                                                                            1.10         $1,919.50
04/12/2022       RJP      Revise, finalize, and file petition for direct appeal                                                                                                         2.80         $3,710.00
04/12/2022      SMK       Analyze A&I petition for direct appeal                                                                                                                        0.40          $470.00
04/12/2022      SMK       Exchange email correspondence with TCC and Debtor's counsel re 3rd circuit briefing                                                                           0.20          $235.00
04/12/2022      SMK       Prepare 3rd Circuit petition for direct appeal                                                                                                                3.30         $3,877.50
04/12/2022      SMK       Research and analysis re petition for direct appeal                                                                                                           0.50          $587.50
04/12/2022      NM        Review and revise petition for direct appeal; correspondence re same                                                                                          1.00          $775.00
04/13/2022       RJP      Coordinate with working group re Third Circuit briefing and logistics; follow‐up re same                                                                      1.10         $1,457.50
                          Negotiations and correspondence with appellants / objectors and Debtor re briefing of Third Circuit petitions and stay of District Court appeals;
04/13/2022      RJP       analyze as‐filed petitions and draft motion to stay District Court appeals                                                                                    0.80         $1,060.00
                          Analyze correspondence re briefing schedule re petitions for direct appeal; analyze joint motion to stay district court appeals briefing; analyze
04/13/2022      MLT       exclusivity extension motion                                                                                                                                  0.80         $1,396.00
04/13/2022      SMK       Extensive email exchange with Debtor's and TCC's counsel re appellate briefing                                                                                0.20          $235.00
04/13/2022      SMK       Analyze and revise joint motion to stay district court briefing                                                                                               0.20          $235.00
04/13/2022      NM        Review case opening letter and prepare admission and appearance forms; correspondence re same                                                                 2.70         $2,092.50
04/13/2022      NM        Review TCC II petition for certification                                                                                                                      0.40          $310.00
04/14/2022       RJP      Review as‐filed Third Circuit stipulation                                                                                                                     0.10          $132.50
04/14/2022       RJP      Exchange email correspondence re revisions to motion to stay District Court appeal                                                                            0.20          $265.00
04/14/2022      SMK       Exchange emails with TCC counsel re appellate procedural issues, including stay of district court briefing schedule                                           0.20          $235.00
04/14/2022      SMK       Review and finalize case commencement forms re 3rd Circuit appeal                                                                                             0.20          $235.00
04/14/2022      MLT       Analyze correspondence re motion to stay District Court appeal                                                                                                0.10          $174.50




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     Date    Timekeeper                                                                         Narrative                                                                    Hours Billed      Amount Billed
04/15/2022       RJP      Review order re Third Circuit briefing schedule; review email correspondence re District Court stay motions                                                   0.10          $132.50
04/15/2022      MLT       Analyze correspondence re joint motion to stay                                                                                                                0.10          $174.50
04/18/2022       RJP      Exchange email correspondence re appellate briefing and timing stipulations                                                                                   0.30          $397.50
04/22/2022       RJP      Prepare appellate briefing; confer and correspond with working group re same                                                                                  0.60          $795.00
04/22/2022      NM        Review appeal dockets and related filings; correspondence re same                                                                                             0.70          $542.50
04/25/2022      SMK       Finalize and file appearance form re 3rd Circuit appeal                                                                                                       0.10          $117.50
04/26/2022      SMK       Analyze Debtor's opposition to 3rd Circuit certification motions                                                                                              0.80          $940.00
04/26/2022       RJP      Analyze Debtor's omnibus opposition to petitions for direct appeal; exchange email correspondence re same                                                     1.00        $1,325.00
04/26/2022      NM        Draft opening appellate brief                                                                                                                                 1.40        $1,085.00
                          Analyze consolidated answer in opposition to direct appeal and prepare notes re same; analyze objection of Maune Raichle to motion of certain
04/26/2022      MLT       ovarian cancer claimants for appointment to Committee                                                                                                        1.40          $2,443.00
04/30/2022      RJP       Prepare opening appellate brief                                                                                                                              2.20          $2,915.00
04/30/2022      NM        Draft opening appellate brief                                                                                                                                3.40          $2,635.00
                          Analyze order granting direct appeal to Third Circuit; prepare client update re same and implications / next steps; confer and correspond with
05/11/2022       RJP      working group re briefing, consolidation, and scheduling                                                                                                     1.50          $1,987.50
05/11/2022      SMK       Analyze order re grant of direct appeal and next steps following same                                                                                        0.30           $352.50
05/11/2022      MLT       Analyze order granting direct appeal; analyze correspondence re same                                                                                         0.10           $174.50
05/12/2022       RJP      Confer and correspond with D. Bussel re Third Circuit appeal; follow‐up research and analysis re same                                                        0.40           $530.00
05/14/2022       RJP      Review email correspondence from J. Massey re forthcoming Third Circuit motion concerning briefing schedule and consolidation                                0.10           $132.50
05/15/2022       RJP      Review follow‐up email correspondence from J. Massey re Third Circuit matters                                                                                0.10           $132.50
                          Analyze draft motion to consolidate and expedite Third Circuit appeals; confer and correspond with co‐appellants re timing, next steps, and
05/16/2022       RJP      Debtor's response                                                                                                                                            0.80          $1,060.00
05/16/2022       RJP      Telephone conference with J. Massey re appellate strategy                                                                                                    0.40           $530.00
05/18/2022       RJP      Prepare for videoconference with appellant group; prepare appellate briefing; exchange email correspondence re same                                          1.30          $1,722.50
05/18/2022       RJP      Telephone conference with D. Molton re appellate strategy                                                                                                    0.20           $265.00
05/18/2022       RJP      Videoconference with appellant group re briefing deadlines and procedural matters                                                                            0.70            $927.50
05/18/2022      SMK       Analyze TCC's revised draft Third Circuit motion re consolidation, standing, and expedition                                                                  0.20           $235.00
05/20/2022      NM        Research re standard of review issues for appeal                                                                                                             4.00          $3,100.00

05/21/2022       RJP      Analyze revised proposed motion re Third Circuit appeals (consolidation, briefing schedule, page limits); exchange email correspondence re same              0.20           $265.00
05/23/2022      SMK       Analyze final version of TCC motion to consolidate appeals                                                                                                   0.30           $352.50
05/23/2022      SMK       Revise and file Third Circuit case opening documents                                                                                                         0.80           $940.00
05/23/2022      NM        Draft Third Circuit case opening documents                                                                                                                   2.30          $1,782.50
05/24/2022      SMK       Analyze Clerk's notice re Third Circuit motion                                                                                                               0.10           $117.50
05/25/2022      NM        Prepare opening brief                                                                                                                                        2.70          $2,092.50
05/26/2022       RJP      Analyze draft joint Third Circuit appendix; prepare opening appellate brief                                                                                  0.80          $1,060.00
05/26/2022      SMK       Analyze draft joint appendix re Third Circuit appeal                                                                                                         0.30           $352.50
05/27/2022       RJP      Exchange email correspondence with co‐appellants re coordination of Third Circuit briefing                                                                   0.10            $132.50
05/27/2022       RJP      Analyze as‐filed Third Circuit motion re consolidation, timing, and procedural matters; review Clerk's order re same                                         0.30           $397.50
                          Revise and finalize case‐opening documents in Third Circuit (concise statement, disclosure statement, docketing statement) and coordinate filing
05/27/2022       RJP      of same; analyze filings by co‐appellants                                                                                                                    0.60           $795.00
05/27/2022      SMK       Review Third Circuit notice re deadline to respond to TCC's consolidation motion                                                                             0.10           $117.50




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05/27/2022      SMK       Analyze revised drafts of Third Circuit case opening documents                                                                                              0.20          $235.00
05/27/2022      SMK       Analyze TCC's renewed/refiled motion to consolidate Third Circuit appeals                                                                                   0.10          $117.50
05/28/2022       RJP      Exchange email correspondence with co‐appellants re discussion of Third Circuit briefing                                                                    0.10          $132.50
05/30/2022       RJP      Exchange email correspondence with co‐appellants re Third Circuit briefing                                                                                  0.10          $132.50
05/31/2022      NM        File case opening documents for Third Circuit appeal                                                                                                        1.10          $852.50
06/01/2022       RJP      Videoconference with co‐appellants re Third Circuit briefing                                                                                                1.00        $1,325.00
06/02/2022       RJP      Prepare opening appellate brief                                                                                                                             2.40        $3,180.00
06/03/2022       RJP      Coordinate with counsel for co‐appellants re amicus support; exchange email correspondence re same and next steps                                           0.30          $397.50
06/05/2022      NM        Research re opening appellate brief                                                                                                                         1.50        $1,162.50
06/08/2022       RJP      Prepare opening Third Circuit brief                                                                                                                         1.20        $1,590.00
06/10/2022       RJP      Analyze Third Circuit filings and order re appellate briefing                                                                                               0.30          $397.50
06/12/2022       RJP      Prepare Third Circuit brief                                                                                                                                 1.00        $1,325.00
06/13/2022       RJP      Telephone conference with J. Massey re Third Circuit briefing coordination and strategy                                                                     0.30          $397.50
06/14/2022      SMK       Review of Third Circuit motion re modification of briefing schedule                                                                                         0.10          $117.50
06/14/2022      SMK       Analyze joint appendix in Third Circuit appeal                                                                                                              0.10          $117.50
06/14/2022      SMK       Prepare Third Circuit opening brief                                                                                                                         4.30        $5,052.50
06/14/2022      NM        Analyze evidentiary record for Third Circuit opening brief                                                                                                  1.70        $1,317.50
06/15/2022       RJP      Exchange email correspondence with appellant working group re Third Circuit joint appendix; confer with N. Maoz re opening brief                            0.50          $662.50
06/15/2022      NM        Prepare additions to Third Circuit appendix                                                                                                                 0.30          $232.50
06/16/2022       RJP      Prepare Third Circuit opening brief                                                                                                                         1.20        $1,590.00
06/17/2022      NM        Confer with M. Reining re joint appendix                                                                                                                    0.10            $77.50
06/19/2022       RJP      Exchange email correspondence with J. Massey and D. Gupta re Third Circuit opening briefs; review draft portions of same                                    0.50          $662.50
06/20/2022      SMK       Draft Third Circuit opening brief                                                                                                                           2.60        $3,055.00
06/20/2022       RJP      Prepare opening appellate brief                                                                                                                             1.00        $1,325.00
06/20/2022      NM        Draft Third Circuit opening brief                                                                                                                           4.20        $3,255.00
06/21/2022      SMK       Analyze Third Circuit order re briefing                                                                                                                     0.10          $117.50

06/21/2022       RJP      Analyze Third Circuit order re briefing; exchange email correspondence with D. Gupta re opening briefs and with P. Winterhalter re appearances             0.50           $662.50
06/22/2022       RJP      Research re opening appellate brief                                                                                                                        1.00          $1,325.00
06/23/2022       RJP      Prepare opening appellate brief                                                                                                                            6.50          $8,612.50
06/23/2022      SMK       Analyze draft Third Circuit appendix                                                                                                                       0.20           $235.00
06/23/2022      NM        Prepare Third Circuit opening brief                                                                                                                        3.00          $2,325.00
06/24/2022       RJP      Prepare opening appellate brief                                                                                                                            7.30          $9,672.50
06/25/2022       RJP      Research and draft opening appellate brief                                                                                                                 8.30         $10,997.50
06/26/2022       RJP      Prepare and revise opening appellate brief; follow‐up research                                                                                             8.80         $11,660.00
06/27/2022      SMK       Coordinate with UST and TCC re Third Circuit appendix                                                                                                      0.20           $235.00
06/27/2022      SMK       Research and draft Third Circuit brief                                                                                                                     2.40          $2,820.00
06/27/2022       RJP      Prepare and revise opening appellate brief; coordinate with S. Kidder and N. Maoz re revisions to same                                                     9.60         $12,720.00
06/27/2022       RJP      Coordinate with co‐appellants re appendix and briefing logistics                                                                                           0.70           $927.50
06/27/2022      NM        Prepare opening appellate brief                                                                                                                            5.20          $4,030.00
06/28/2022      SMK       Analyze draft joint appendix                                                                                                                               0.20           $235.00
06/28/2022      SMK       Prepare opening appellate brief                                                                                                                            1.10          $1,292.50




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     Date    Timekeeper                                                                        Narrative                                                                         Hours Billed      Amount Billed
06/28/2022      SMK       Analyze court notice re oral arguments; follow‐up re same                                                                                                         0.10          $117.50
06/28/2022       RJP      Prepare and revise opening appellate brief                                                                                                                        9.70       $12,852.50
06/28/2022       RJP      Analyze final joint appendix; coordinate with N. Maoz re same and finalization of brief                                                                           0.80        $1,060.00
06/28/2022      NM        Revise opening brief; follow‐up research re same                                                                                                                  3.40        $2,635.00
06/29/2022       RJP      Analyze joint appendix; coordinate with appellant group re finalization of briefing and Third Circuit preparations                                                1.50        $1,987.50
06/29/2022       RJP      Prepare and revise opening appellate brief                                                                                                                        9.80       $12,985.00
06/29/2022      SMK       Finalize opening appellate brief; follow‐up research re same                                                                                                      2.30        $2,702.50
06/29/2022      NM        Revise and finalize opening appellate brief                                                                                                                       6.30        $4,882.50

06/30/2022       RJP      Analyze UST's Third Circuit amicus brief and opening appellate briefs of co‐appellants; prepare client correspondence re Third Circuit appeal                    2.00          $2,650.00
06/30/2022       RJP      Revise, finalize, and file opening appellate brief                                                                                                               9.40         $12,455.00
06/30/2022      NM        Analyze Third Circuit briefs                                                                                                                                     2.20          $1,705.00
06/30/2022      SMK       Analyze opening briefs of TCC, A&I, mesothelioma committee, and US Trustee                                                                                       2.40          $2,820.00
06/30/2022      SMK       Research re remaining issues in connection with Third Circuit opening brief                                                                                      1.30          $1,527.50
06/30/2022      SMK       Draft, revise, and finalize opening Third Circuit brief                                                                                                          7.40          $8,695.00
06/30/2022      MLT       Analyze appellate briefs and comment; correspondence re same and hearing re preliminary injunction                                                               3.20          $5,584.00
06/30/2022      NM        Review and revise brief; correspondence re filing                                                                                                                7.20          $5,580.00
07/01/2022       RJP      Analyze other appellants' opening briefs and UST amicus brief                                                                                                    1.50          $1,987.50
                          Exchange email correspondence with appellant group re amicus briefs and UST oral argument participation; review follow‐up filings in Third
07/01/2022      RJP       Circuit re briefing and oral argument                                                                                                                            0.60           $795.00
07/01/2022      RJP       Meet with M. Tuchin re Third Circuit briefing                                                                                                                    0.20           $265.00
                          Continue review of appellate briefs; analyze correspondence re appellate oral argument; analyze filings re status; confer with R. Pfister, S. Kidder
07/01/2022      MLT       and N. Maoz re briefs and oral argument                                                                                                                          3.30          $5,758.50
07/02/2022      RJP       Exchange email correspondence re Third Circuit briefing                                                                                                          0.40           $530.00
                          Exchange email correspondence re Third Circuit briefing and amicus filings; analyze letter re oral argument and UST's motion to participate in
07/05/2022       RJP      argument                                                                                                                                                         0.80          $1,060.00
07/07/2022      SMK       Analyze Third Circuit briefing                                                                                                                                   1.40          $1,645.00
07/07/2022       RJP      Analyze Third Circuit amicus briefs                                                                                                                              1.50          $1,987.50
07/07/2022      MLT       Analyze amici briefs in Third Circuit appeal and prepare notes re same                                                                                           2.20          $3,839.00
07/07/2022      NM        Analyze Third Circuit amicus briefs                                                                                                                              0.90           $697.50
                          Meet with M. Tuchin re Third Circuit briefing and strategy moving forward in connection with estimation and July 26 omnibus hearing; prepare
07/08/2022      RJP       for omnibus hearing                                                                                                                                              1.00          $1,325.00
07/08/2022      MLT       Continue review of Third Circuit briefing; confer with R. Pfister re results of hearing and next steps; analyze filings re status                                2.40          $4,188.00
07/19/2022      NM        Review notice re Third Circuit argument; file acknowledgment re same                                                                                             0.30           $232.50
                          Coordinate with Third Circuit clerk's office re oral argument; prepare for argument; exchange email correspondence with co‐counsel re
07/20/2022       RJP      argument preparation                                                                                                                                             1.00          $1,325.00
07/21/2022       RJP      Prepare for Third Circuit oral argument                                                                                                                          1.50          $1,987.50
07/21/2022       RJP      Videoconference with appellate co‐counsel re oral argument preparations                                                                                          0.50           $662.50
07/22/2022       RJP      Review Third Circuit argument scheduling order; follow‐up re same                                                                                                0.20           $265.00
07/29/2022       RJP      Exchange email correspondence re amicus participation in Third Circuit appeals                                                                                   0.20           $265.00
08/15/2022       RJP      Preliminary review of LTL's Third Circuit Answering Brief                                                                                                        0.70           $927.50
08/15/2022      SMK       Analyze Debtor's Answering Brief in Third Circuit appeal                                                                                                         1.60          $1,880.00




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     Date    Timekeeper                                                                         Narrative                                                                Hours Billed      Amount Billed
08/16/2022      RJP       Exchange email correspondence re Third Circuit briefing                                                                                                   0.10          $132.50
08/16/2022      MLT       Analyze Debtor's Answering Brief                                                                                                                          1.40        $2,443.00
08/19/2022      RJP       Exchange email correspondence re Third Circuit briefing                                                                                                   0.10          $132.50
                          Coordinate with co‐appellant group re Third Circuit oral argument; exchange email correspondence with M. Tuchin re moot court in advance of
08/20/2022       RJP      same                                                                                                                                                     0.50           $662.50
08/21/2022       RJP      Exchange email correspondence re Third Circuit briefing                                                                                                  0.10           $132.50
08/22/2022       RJP      Prepare for Third Circuit oral argument                                                                                                                  0.70           $927.50
08/22/2022       RJP      Analyze amicus briefs in support of LTL in Third Circuit appeal; prepare notes re reply brief                                                            1.20          $1,590.00
08/22/2022      SMK       Analyze Third Circuit amicus briefs                                                                                                                      1.30          $1,527.50
08/22/2022      MLT       Analyze Third Circuit amicus briefs and prepare notes re same                                                                                            2.80          $4,886.00
08/22/2022      NM        Analyze Answering Brief                                                                                                                                  0.50           $387.50
08/23/2022       RJP      Analyze correspondence from co‐appellants re reply briefs in Third Circuit appeal                                                                        0.50           $662.50
08/23/2022       RJP      Videoconference with counsel for co‐appellants re Third Circuit argument preparation                                                                     0.50            $662.50
08/24/2022       RJP      Analyze Answering Brief in Third Circuit appeal and outline Reply Brief; research re same                                                                2.20          $2,915.00

08/24/2022       RJP      Exchange email correspondence with counsel for co‐appellants re Third Circuit argument preparation and Reply Brief points; follow‐up re same             0.50           $662.50
08/25/2022      NM        Research re standard of review (Third Circuit Reply Brief)                                                                                               2.50          $1,937.50
08/26/2022       RJP      Analyze Third Circuit orders re panel and argument; confer and correspond with working group re same                                                     0.70           $927.50
08/26/2022      MLT       Analyze correspondence re assignment of panel and oral argument                                                                                          0.10           $174.50
08/26/2022      MLT       Confer with N. Maoz re Reply Brief                                                                                                                       0.20           $349.00
08/26/2022      NM        Research re Third Circuit Reply Brief                                                                                                                    0.60           $465.00
08/26/2022      NM        Confer with M. Tuchin re Reply Brief                                                                                                                     0.20           $155.00
08/28/2022       RJP      Research and analysis re Third Circuit Reply Brief                                                                                                       2.30          $3,047.50
08/28/2022      NM        Research re Third Circuit Reply Brief                                                                                                                    1.60          $1,240.00
08/29/2022       RJP      Analyze co‐appellants' Third Circuit argument summaries; confer with N. Maoz re Third Circuit Reply Brief                                                0.70           $927.50
08/29/2022      SMK       Analyze and revise standard of review section re Third Circuit Reply Brief                                                                               0.60           $705.00
08/29/2022      NM        Draft Third Circuit Reply Brief                                                                                                                          7.60          $5,890.00
08/30/2022       RJP      Analyze correspondence from co‐appellants re Third Circuit appeal; confer with N. Maoz re Reply Brief                                                    0.30           $397.50
08/30/2022      NM        Draft Reply Brief                                                                                                                                        6.40          $4,960.00
08/31/2022      SMK       Draft oral argument summary for Third Circuit appeal                                                                                                     0.30           $352.50
08/31/2022      SMK       Analyze and revise draft Reply Brief re Third Circuit appeal                                                                                             0.30           $352.50
08/31/2022       RJP      Prepare Third Circuit Reply Brief                                                                                                                        1.70          $2,252.50
08/31/2022       RJP      Prepare and file Third Circuit argument summary; analyze co‐appellants' and LTL's summaries                                                              0.80          $1,060.00
08/31/2022      MLT       Prepare Third Circuit argument summary                                                                                                                   0.20           $349.00
08/31/2022      NM        Prepare and file summary of oral argument; correspondence re same                                                                                        0.30           $232.50
08/31/2022      NM        Review and revise Reply Brief                                                                                                                            0.80           $620.00
09/01/2022      NM        Prepare Third Circuit reply brief                                                                                                                        2.30          $1,782.50
09/05/2022       RJP      Prepare and revise Third Circuit reply brief; research re same                                                                                           5.50          $7,287.50
09/06/2022       RJP      Revise, finalize, and file Third Circuit reply brief                                                                                                     6.00          $7,950.00
09/06/2022      MLT       Analyze correspondence from R. Brubaker to Third Circuit re Texas Two‐Step                                                                               0.50           $872.50
09/06/2022      SMK       Review and revise Third Circuit reply brief                                                                                                              1.90          $2,232.50
09/06/2022      NM        Review and revise reply brief                                                                                                                            4.40          $3,410.00




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     Date    Timekeeper                                                                        Narrative                                                                   Hours Billed      Amount Billed
09/07/2022      RJP       Analyze Third Circuit reply briefs; prepare for oral argument                                                                                               1.60        $2,120.00
09/08/2022      RJP       Exchange email correspondence with co‐appellants re oral argument; prepare for same                                                                         0.80        $1,060.00
09/08/2022      MLT       Analyze Third Circuit reply briefs                                                                                                                          2.30        $4,013.50
                          Videoconferences and conference calls (multiple) with co‐appellants and clients re oral argument division and preparation; extensive follow‐up
09/09/2022       RJP      re same                                                                                                                                                    2.50          $3,312.50
09/14/2022       RJP      Videoconference with Judge Ambro and appellate counsel re potential recusal issues                                                                         0.40           $530.00
09/14/2022       RJP      Analyze correspondence from Third Circuit re requested videoconference with Judge Ambro; prepare for same                                                  0.40           $530.00
09/14/2022      MLT       Analyze correspondence re Judge Ambro conference                                                                                                           0.10           $174.50
09/16/2022       RJP      Exchange email correspondence with co‐appellants re oral argument preparations and logistics                                                               0.30           $397.50
09/19/2022       RJP      Appear at Third Circuit oral argument                                                                                                                      4.80          $6,360.00
02/13/2023      SMK       Analyze Debtors' petition for rehearing en banc re Third Circuit opinion                                                                                   0.60           $777.00
02/14/2023      SMK       Analyze issues re response to petition for rehearing en banc                                                                                               0.60           $777.00
02/14/2023       RJP      Appear at post‐Third‐Circuit‐decision status conference                                                                                                    1.10          $1,606.00
02/21/2023      SMK       Review amicus briefs filed in support of rehearing en banc                                                                                                 0.80          $1,036.00
02/23/2023      SMK       Work on response to Debtors' petition for rehearing en banc                                                                                                4.60          $5,957.00
02/24/2023      SMK       Work on response to petition for rehearing in Third Circuit appeal                                                                                         1.60          $2,072.00
02/28/2023      SMK       Analyze draft response to rehearing petition; exchange correspondence with R. Pfister re same                                                              0.60           $777.00

02/28/2023       RJP      Exchange correspondence with M. Winograd, D. Gupta, D. Frederick, and J. Lamken re rehearing response coordination; follow‐up re same                      0.20           $292.00
03/01/2023       RJP      Videoconference with appellate co‐counsel re response to petition for rehearing                                                                            0.60           $876.00
03/02/2023      SMK       Analyze and revise draft response to Third Circuit rehearing petition                                                                                      1.20          $1,554.00
03/03/2023       RJP      Revise draft joint response to rehearing request; exchange correspondence re same                                                                          0.50           $730.00
03/03/2023      SMK       Revise response to rehearing petition                                                                                                                      1.60          $2,072.00
03/05/2023      SMK       Exchange correspondence with appellate counsel group re oppositions to rehearing in Third Circuit                                                          0.20           $259.00
                          Review order denying rehearing; exchange correspondence with N. Katyal re opposition to stay of mandate; review LTL motion to stay mandate;
03/22/2023       RJP      exchange correspondence with co‐appellants re preparation of brief in opposition to same                                                                   0.50           $730.00
03/22/2023      SMK       Review motion to stay issuance of mandate                                                                                                                  0.60           $777.00
03/22/2023      NM        Review motion for stay of mandate                                                                                                                          0.20           $175.00
03/23/2023      NM        Review bankruptcy court order re dismissal; correspondence re same                                                                                         0.10            $87.50
03/26/2023       RJP      Review draft opposition to motion to stay mandate; exchange correspondence with co‐appellants re same                                                      0.30           $438.00
03/26/2023      SMK       Analyze draft oppositions to motion to stay mandate                                                                                                        0.50           $647.50
03/28/2023       RJP      Review as‐filed oppositions to motion to stay mandate                                                                                                      0.20           $292.00
03/28/2023      SMK       Exchange correspondence with appellate counsel re opposition to motion to stay mandate                                                                     0.10           $129.50
03/30/2023      SMK       Analyze debtor's reply in support of motion to stay mandate                                                                                                0.40           $518.00
03/31/2023      NM        Review revised Third Circuit opinion                                                                                                                       0.20           $175.00
Total:                                                                                                                                                                             400.20       $460,150.50




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